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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                              CINCINNATI DIVISION


HUNTER DOSTER, et al.,

        Plaintiffs,
v.                                                   No. 1:22-cv-00084
                                                Hon. Matthew W. McFarland
FRANK KENDALL, et al.,

        Defendants.



     DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ EMERGENCY MOTION FOR
      TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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          I.        Plaintiffs Are Unlikely to Succeed on the Merits of Their Claims. .....................11

                    A.        Plaintiffs Have Failed to Establish That This Court Has
                              Jurisdiction Over Their Claims Because Their Claims Are Not
                              Ripe and They Have Failed to Exhaust Their Administrative
                              Remedies..............................................................................................11

                              1.         Plaintiffs’ Claims Are Not Ripe. ................................................11

                              For all but two Plaintiffs, their claims are not ripe for review. See Thomas
                              v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 580 (1985). Only four
                              Plaintiffs have completed the appeal process for their religious
                              accommodation requests, and of those four, two are active-duty service
                              members for whom the Air Force has not yet made a final determination
                              on separation. Addressing Plaintiffs’ claims before their religious
                              accommodation requests are finally adjudicated “would require the Court
                              to adjudicate internal military affairs before the military chain of
                              command has had full opportunity to consider the accommodation
                              requests at issue.” Church v. Biden, No. 21-2815 (CKK), --- F. Supp. 3d -
                              --, 2021 WL 5179215, at *11 (D.D.C. Nov. 8, 2021).

                              2.         Plaintiffs Have Failed to Exhaust Their Administrative
                                         Remedies. .................................................................................13

                              For similar reasons, all but two Plaintiffs have failed to exhaust their
                              intramilitary administrative remedies. Exhaustion is especially important
                              in the military context. See Heidman v. United States, 414 F. Supp. 47, 48

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                  (N.D. Ohio 1976); see also Seepe v. Dep’t of the Navy, 518 F.2d 760, 764
                  (6th Cir. 1975). The Air Force provides Plaintiffs with many
                  opportunities to present their arguments before any final determination is
                  made on discipline related to failure to receive the COVID-19 vaccine,
                  and the Court should not intrude into the management of the military
                  before the service members complete those processes

           B.     Plaintiffs’ RFRA Claims Fail Because The Military Has a
                  Compelling Governmental Interest in Maintaining a Medically Fit
                  Force and the Vaccine Requirement is the Least Restrictive Means
                  of Doing So. .........................................................................................15

           Plaintiffs have failed to show that the Air Force has “substantially burden[ed]
           [their] exercise of religion,” Gonzales v. O Centro Espirita Beneficente Uniao do
           Vegetal, 546 U.S. 418, 424 (2006) (quoting 42 U.S.C. § 2000bb–1(a)), because
           the Air Force has a compelling interest in maintaining a medically fit force and
           the vaccine requirement is the least restrictive means of doing so.

                  1.        The COVID-19 Vaccination Requirement Furthers the
                            Government’s Compelling Interest in Military Readiness............15

                  “Stemming the spread of COVID–19 is unquestionably a compelling
                  interest.” Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67
                  (2020). After consulting with medical experts and military leadership, the
                  Secretary of the Air Force determined that COVID-19 vaccination is
                  necessary to ensure military readiness and to protect the health and safety
                  of airmen. The Court must “give great deference” to the “professional
                  military judgments” of these leaders when it comes to what is needed to
                  ensure military readiness and the welfare of service members. Winter v.
                  Nat. Res. Def. Council, Inc., 555 U.S. 7, 24–25 (2008).

                  2.        Vaccination is the Least Restrictive Means of Furthering
                            the Government’s Compelling Interest in Military
                            Readiness. .................................................................................23

                  The Air Force Surgeon General concluded that there are no lesser
                  restrictive means than vaccination of these individual service members to
                  further the military’s compelling interests in readiness and ensuring the
                  health and safety of all service members. That military judgment is due
                  “great deference.” See Winter, 555 U.S. at 24–25. None of Plaintiffs’
                  suggested alternatives to vaccination are sufficient lesser restrictive means
                  of furthering that interest because they fail to serve the military’s
                  compelling interests “equally well” relative to vaccination. See Burwell v.
                  Hobby Lobby Stores, Inc., 573 U.S. 682, 731 (2014).

           C.     Plaintiffs’ First Amendment Claim Is Unlikely to Succeed on the
                  Merits...................................................................................................30

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                    The vaccine requirement survives rational basis review because it is neutral and
                    generally applicable, given that it applies to all service members. See Roberts v.
                    Neace, 958 F.3d 409, 413 (6th Cir. 2020). Contrary to Plaintiffs’ assertions, the
                    Air Force’s exemption policies do not trigger strict scrutiny because they do not
                    “‘invite[]’ the government to consider the particular reasons for a person’s
                    conduct by providing ‘a mechanism for individualized exemptions.’” Fulton v.
                    City of Philadelphia, 141 S. Ct. 1868 (2021); see also Dahl v. Board of Trustees
                    of Western Michigan University, 15 F.4th 728 (6th Cir. 2021). Regardless,
                    Plaintiffs’ First Amendment claims fails even under strict scrutiny for the same
                    reasons that their RFRA claims fail, especially given that “review of military
                    regulations challenged on First Amendment grounds is far more deferential than
                    constitutional review of similar laws or regulations designed for civilian society.”
                    Goldman v. Weinberger, 475 U.S. 503, 507 (1986)).

          II.       Plaintiffs Do Not Face Irreparable Harm. ..........................................................33

          Irreparable harm is an “indispensable” requirement for a preliminary injunction, D.T. v.
          Sumner Cnty. Schs., 942 F.3d 324, 327 (6th Cir. 2019), and is an especially high bar here
          given the national security interests weighing against judicial intervention in military
          affairs. See Shaw v. Austin, 539 F. Supp. 3d 169, 183 (D.D.C. 2021)). Plaintiffs’ alleged
          harms are insufficient because Plaintiffs fail to establish a violation of law (statutory or
          constitutional), none of Plaintiffs’ alleged harms are irreparable, and Plaintiffs’ fears of
          being subjected to court-martial are entirely speculative in light of Air Force policy to
          reassign Reserve members to the IRR and to discharge active duty members.

          III.      The Equities and the Public Interest Weigh Against a Preliminary
                    Injunction. .......................................................................................................35

          The third and fourth requirements for issuance of a preliminary injunction—the balance
          of harms and whether the requested injunction will disserve the public interest—“merge
          when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).
          Plaintiffs’ requested injunction would threaten harm to each Plaintiff and to other service
          members serving alongside them in the execution of their job duties, in training facilities,
          or on deployment, and would risk accomplishment of each Plaintiffs’ respective unit’s
          mission.

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          The law is clear that any injunctive relief should be no broader than necessary to provide
          relief to the plaintiffs before the Court. See Gill v. Whitford, 138 S. Ct. 1916, 1934
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          should be rejected as improper, along with any individual injunctive relief for the
          Plaintiffs themselves.

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                                          INTRODUCTION

          In warfare, disease has historically accounted for more service member deaths than

battlefield injuries. The current Department of Defense (“DoD”) immunization program, which

has been in place for decades, requires that all service members obtain nine immunizations, and

an additional eight may be required depending on circumstances like deployment. In the midst of

a deadly pandemic that has killed more than 870,000 Americans, DoD added vaccination against

COVID-19 to this long list of immunizations already required for service members.

          Plaintiffs—18 members of the Air Force—challenge the Air Force’s COVID-19

vaccination requirement as inconsistent with their religious beliefs. Plaintiffs request not only that

this Court overturn the Air Force’s decision to deny their religious accommodation requests, but

also that the Court to grant the religious accommodation requests of all other service members of

the Air Force, and to supervise the ongoing accommodation process as to thousands of other

service members not before the Court. Such an injunction would be wholly improper, particularly

as the Supreme Court has consistently cautioned against judicial interference in military affairs.

          This Court should deny Plaintiffs’ request, as it fails to satisfy the standard for preliminary

injunctive relief. First, Plaintiffs are unlikely to succeed on the merits of their claims. For those

Plaintiffs whose military processes are still ongoing, the Plaintiffs have neither ripe nor exhausted

claims.     For all Plaintiffs, their RFRA claims fail on the merits.         The challenged vaccine

requirement explicitly contemplates the possibility of a religious accommodation, and the military

assesses such requests under the standards set forth in the Religious Freedom Restoration Act

(“RFRA”). The Air Force’s interest in protecting the health of its service members to carry out its

mission is indisputably compelling, and there is no basis for the Court to conclude that Plaintiffs’

proposed alternatives would protect the military’s compelling interests as effectively as



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immunization. The Court should defer to the military’s judgment that vaccination is necessary for

readiness. For much the same reasons, Plaintiffs’ First Amendment claim also fails because the

vaccine mandate does not infringe upon the free exercise of religion. The remaining factors weigh

heavily against the entry of any injunctive relief. Plaintiffs cannot show that they face irreparable

harm or that the balance of equities tilts in their favor. But the entry of an injunction granting

Plaintiffs’ exemption requests and imposing judicial supervision over the Air Force’s exemption

process would greatly harm the Air Force, its vital mission, the national security of the United

States, and the public interest.

         Seven other courts have declined to grant service members’ similar motions for preliminary

injunctions.1,2 Another Court within this district denied a motion for a temporary restraining order

against the military’s vaccine directive. See Order, Doc. No. 3, Poffenbarger v. Kendall, No. 3:22-

cv-00001-TMR (S.D. Ohio Jan. 3, 2022). The Court should likewise deny Plaintiffs’ motion for

a preliminary injunction. The Court should also reject Plaintiffs’ attempt to receive a nationwide

injunction of the COVID-19 vaccine requirement pertaining to the entire Air Force. Every court

that has considered a request for such sweeping relief in this context has denied the request. See

supra notes 1, 2. Indeed, a Court in this district denied a request for a nationwide injunction against

1
  See Church v. Biden, ---F. Supp. 3d---, 2021 WL 5179215 (D.D.C. Nov. 8, 2021); Doe #1 -#14 v. Austin, ---F. Supp.
3d---, 2021 WL 5816632 (N.D. Fla. Nov. 12, 2021); Guettlein v. U.S. Merch. Marine Acad., ---F. Supp. 3d---, 2021
WL 6015192 (E.D.N.Y. Dec. 20, 2021); Oklahoma v. Biden, ---F. Supp. 3d---, 2021 WL 6126230 (W.D. Okla. Dec.
28, 2021); Robert v. Austin, No. 21-cv-02228, 2022 WL 103374 (D. Colo. Jan. 11, 2022), appeal filed, No. 22-1032
(10th Cir. Feb. 22, 2022); Order, Doc. No. 25, Short v. Berger, No. 2:22-cv-1151 (C.D. Cal. Mar. 3, 2022);Transcript
of Order, Doc. No. 25, Dunn v. Austin, No. 22-cv-0028 (E.D. Cal. Feb. 22, 2022).
2
  The district court in Navy SEALs 1–26 v. Biden, ---F. Supp. 3d---, 2022 WL 34443, at *14 (N.D. Tex. Jan. 3, 2022),
recently granted a motion for a preliminary injunction which enjoined the Department of Defense and the U.S. Navy
from applying certain COVID-19 vaccination policies to the 35 plaintiffs in that case or taking any adverse action
against those plaintiffs on the basis of their requests for religious accommodation. Similarly, the district court in Navy
SEAL 1 v. Biden, see Order, Doc. No. 67, No. 8:21-cv-02429 (M.D. Fla. Feb. 2, 2022), granted in part a motion for a
preliminarily injunction, enjoining the Department of Defense from “altering in any manner and for any reason” the
current employment status of two plaintiffs. The Government strongly disagrees with these decisions, for the reasons
set forth herein, and has filed a notice of appeal in both cases. See also Air Force Officer v. Austin, ---F. Supp. 3d---,
2022 WL 468799 (M.D. Ga. Feb. 15, 2022) (denying plaintiff’s request for nationwide injunction of Air Force vaccine
requirement but granting “narrowly tailored” relief).


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the Air Force and instead issued a “relatively limited preliminary injunction” based on a finding

that honorably discharging the plaintiff (rather than taking punitive measures) is a less restrictive

means of accomplishing the military’s vaccination goals. See Poffenbarger, ---F. Supp. 3d---,

2022 WL 594810, at *1, 14–15, 19–20.3

                                                BACKGROUND

I.       The COVID-19 Pandemic

         The virus SARS-CoV-2 causes a disease known as COVID-19 that “spreads when an

infected person breathes out droplets and very small particles that contain the virus.” Centers for

Disease Control and Prevention (“CDC”), How COVID-19 Spreads, https://perma.cc/4ZBC-

8WYQ.4 In July 2021, the United States began to experience “a rapid and alarming rise in . . .

COVID-19 case[s] and hospitalization rates,” driven by the Delta variant.                          See CDC, Delta

Variant: What We Know About the Science (updated Aug. 26, 2021), https://perma.cc/4RW6-

7SGB. Community transmission rates remain high in all 50 states. See CDC, COVID Data

Tracker, https://perma.cc/ZKQ5-W8QC. And daily case rates recently and rapidly surpassed the

previous peak. Id. To date, more than 79,000,000 Americans have been infected, and nearly

955,000 Americans have died from COVID-19. Id.

         In DoD alone, as of March 1, 2022, “there have been 387,621 cases” of COVID-19 in

service members, which have led to 94 deaths.” Ex. 10 (Decl. of Major Scott Stanley) ¶ 3. Of

those 94 service members, all but five were unvaccinated, and of those five, two had received a

single dose of a two-dose mRNA vaccine. Id. Moreover, many “otherwise healthy Service


3
  The Government contends that even a “relatively limited preliminary injunction” should not have issued in
Poffenbarger, inter alia, because there was no indication that the Air Force intended to initiate punitive measures such
as court-martial against plaintiff, see Order at 28, Doc. No. 32, Poffenbarger v. Kendall, No. 3:22-cv-0000-TMR (S.D.
Ohio Jan. 3, 2022), thus it was not necessary to enjoin them from doing so in that case.
4
  The Court may take judicial notice of factual information available on government websites. See Tellabs, Inc. v.
Makor Issues & Rts., Ltd., 551 U.S. 308, 322–23 (2007).

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members have developed ‘long-haul’ COVID-19, potentially impacting their long-term ability to

perform their missions.” Ex. 9 (Decl. of Col. Tonya Rans, M.D.) ¶ 10.

II.    Department of Defense Vaccination Directive s

       The U.S. military instituted its first immunization program in 1777 when General

Washington directed the inoculation of the Continental Army for smallpox. Stanley Lemon, et al.,

Protecting Our Forces: Improving Vaccine Acquisition and Availability in the U .S. Military,

National Academies Press, 2002, https://perma.cc/E545-TQ9G. Deaths due to infectious diseases

outnumbered those due to direct combat injuries until World War II, when vaccines became

widespread. Id. at 3. More recently, disease accounted for nearly 70% of U.S. Army hospital

admissions during the Persian Gulf War. Id. at 10, Figure 1-1. Military-mandated vaccines have

played a key role in reducing infectious disease morbidity and mortality among military personnel.

Id. (highlighting the historical use of vaccines in armed conflict). For decades, the military has

implemented a variety of enduring or situational inoculation measures to maintain the readiness of

the force. See Ex. 3 (Congressional Research Report Defense Health Primer).

        DoD’s current immunization program is governed by DoD Instruction (“DoDI”) 6205.02.

Nine vaccines are required for all service members, including the annual influenza vaccine, while

eight others are required when certain elevated risk factors are present, such as deployment to

certain parts of the world. See Ex. 5 (Air Force Instruction (“AFI”) 48-110_IP), Table D-1. In

general, DoD aligns its immunization requirements and eligibility determinations for service

members with recommendations from the CDC’s Advisory Committee on Immunization

Practices. Ex. 4 (DoDI 6205.02) at 3. The Military Services have separately issued regulatory

guidance for the administration of vaccines to service members, including processes to seek

medical and religious exemptions. See Ex. 5, Chapter 2.6.



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         On August 9, 2021, the Secretary of Defense, noting the impact COVID-19 has on military

readiness, announced that he would add the COVID-19 vaccine to the list of vaccines required for

all service members by the earlier of mid-September or upon approval by the Food and Drug

Administration (“FDA”). See Ex. 1 (Mem. for all Defense Employees (Aug. 9, 2021)). On August

24, 2021, after FDA announced the approval of the Pfizer COVID-19 vaccine, see Ex. 8 (Decl. of

Peter Marks, M.D., Ph.D) ¶ 6,5 the Secretary directed the Secretaries of the Military Departments

to immediately vaccinate all members of the armed forces under DoD authority who were not

already fully vaccinated, see Ex. 2 (Mem. For Senior Pentagon Leadership, Commanders of the

Combatant Commands, Defense Agency and DoD Field Activity Directors (Aug. 24, 2021)).

III.     The Air Force’s Implementation of DoD’s COVID-19 Vaccination Directive

         Shortly after the Secretary of Defense issued the vaccine directive, the Air Force issued

implementing guidance. See Ex. 6 (Mem. for Dep’t of the Air Force Commanders). The Secretary

of the Air Force directed all reservists to be fully vaccinated by December 2, 2021. Id. As with

other vaccine requirements, the Air Force has guidance that establishes processes for seeking

medical, administrative, and religious exemptions. See Ex. 11 (Decl. of Col. Artemio Chapa) ¶¶

3–9; Ex. 12 (Decl. of Major Matthew Streett) ¶ 3; Ex. 15 (Decl. of Lt. Col. Nekitha Little) ¶¶ 3–4.

Members may seek a temporary medical exemption if, for example, they currently have COVID-

19, are pregnant, or are allergic to an ingredient in the vaccine. Ex. 11 ¶¶ 4–6. Members who are

on terminal leave (i.e., they are no longer coming into their workspace and are taking leave until

the date they retire or separate from service) or otherwise retiring or separating (that is, leaving

military service) in the near future may also seek an exemption, as they will be leaving military




5
 The Marks Declaration was prepared and submitted in connection with separate litigation. Here, it provides useful
background on the safety and efficacy of COVID-19 vaccines.

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service imminently. Ex. 15 ¶¶ 3–4; Ex. 23.

         Members may seek a religious exemption by submitting a written request to the approval

authority. Ex. 12 ¶ 4.6 The service member then consults with a chaplain, his commander, and a

military medical provider, who “each provide written memoranda of their respective meetings to

include in the request package.” Id. ¶ 9. Although chaplains may make recommendations, they

are not authorized to approve or deny exemption requests. Id. ¶ 10. A separate legal review of the

package is also conducted. Id. ¶ 11.

         The package is then routed through each commander in the chain of command, who each

provide an endorsement with a recommendation to approve or disapprove the request. Id. ¶ 12.

Endorsements must address if there is a compelling government interest; any effect the

accommodation will have on readiness, unit cohesion, good order and discipline; health, or safety,

and impact on the duties of the member; and whether “less restrictive means can be used to meet

the government’s compelling government interest.’” Id. (quoting DAFI 52-501 ¶ 6.6.1.5). The

commanders are not authorized to approve or deny requests. See id. ¶¶ 12–13.

         In addition, a multidisciplinary Religious Resolution Team at the approval authority level

reviews the package in order to advise the approval authority regarding resolution of religious

liberty matters.7 Id. ¶¶ 7, 13. After reviewing the request package, the team provides a written

recommendation that includes any dissenting views of any members of the team. Id. ¶ 11. The

team is not authorized to approve or deny requests. See id.

6
   The approval authority indicated in DAFI 52-201 is the Major Command (MAJCOM), Field Command
(FIELDCOM), Direct Reporting Unit (DRU), or Field Operating Agency (FOA) commander over the service member.
Id. ¶ 4.
7
  The team is composed of a repres entative from the Deputy Chief of Staff for Manpower, Personnel, and Services, as
well as from the Chaplains Corps, Air Force Public Affairs, a representative from the Air Force Surgeon General, and
from the Air Force Judge Advocate General’s Corps. Ex. 12 ¶ 8 n.10. Due to the part-time nature of the Reserves
and the logistical difficulties in assembling members to address the numerous religious accommodation packages
submitted, the Air Force Reserve Command (“AFRC”) temporarily waived the requirement for AFRC units to hold a
Religious Review Team, in accordance with applicable Department of the Air Force regulations, which authorize such
waivers. Id. ¶ 8. The AFRC-level Religious Review Team fulfills the requirement instead.

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         Once each commander in the chain of command has provided an endorsement and the

Religious Review Team has provided its recommendation, the package is submitted to the

approval authority.       Id. ¶ 13. The approval authority assesses each request individually “to

determine (1) if there is a sincerely held religious (as opposed to moral or conscience) belief, (2)

if the vaccination requirement substantially burdens the applicant’s religious exercise based upon

a sincerely held religious belief, and if so, (3) whether there is a compelling government interest

in requiring that specific requestor to be vaccinated, and (4) whether there are less restrictive means

in furthering that compelling government interest.” Id. ¶ 5. For active duty service members

within the continental United States, the approval authority must review and make a decision on

the exemption request within 30 business days of the date the service member submitted an

exemption request. Id. ¶ 15. For service members overseas or in the Air Force Reserves, the

timeline is extended to 60 business days. Id. If the approval authority denies the request, the

service member may appeal to the Air Force Surgeon General, who reviews each package

individually, is advised by another Religious Resolution Team, and renders a final decision on the

request taking into account these same four criteria. Id. ¶¶ 1, 4, 5, 16. The Air Force Surgeon

General must reach a final decision on the appeal within 30 business days from the date the service

member provided notice of an intent to appeal. Id. ¶ 16.8

         Air Force commanders have a variety of administrative and disciplinary actions that may

be taken against service members who do not have an exemption and who refuse the COVID-19

vaccination. Ex. 13 (Decl. of Col. Elizabeth Hernandez) ¶¶ 3–14. However, to ensure consistency

and uniformity in disposition, before any administrative or disciplinary action can be taken based


8
 These timelines may not be met if there is a large influx of religious accommodation requests. Ex. 12 ¶ 15. Even if
the timelines are not met, a service member faces no harm, as he or she is temporarily exempted from the immunization
requirement while the request or appeal is pending and does not face any administrative or disciplinary action for
failure to comply with the vaccination requirement during that period. Id.

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on a COVID-19 vaccine refusal, the case must be reviewed by a high-ranking official. Id. ¶ 3.

       Regular service members who refuse to comply with the COVID-19 vaccination mandate,

absent an exemption, will be subject to initiation of administrative discharge proceedings. Id. ¶

10. The processes differ slightly for enlisted and officer members, but in general the process starts

when the service member’s immediate            commander notifies the service member of a

recommendation administrative discharge. Id. The service member may respond, with the support

of free defense counsel provided to service members, before the discharge recommendation goes

to the separation authority. Id. Depending on the characterization of the service separations and

the service member’s time in office, the decision may move to a higher level and the service

member may be entitled to a formal administrative hearing. Id.

       For members of the Air Force Reserve who refuse to comply with the COVID-19

vaccination mandate, absent an exemption, discipline may include an administrative action, such

as the issuance of a Letter of Reprimand, which is a “non-punitive tool[], intended to improve,

correct, and instruct service members who violate established Department of Air Force standards.”

Id. ¶ 6. If a Letter of Reprimand is issued, the member is given the opportunity to consult with a

free defense counsel, provide a response, and provide other relevant information to the issuing

authority. Id. The issuing authority then decides whether to uphold the Letter of Reprimand,

which would result in the letter being filed in the service member’s personnel records. Id. The

service member may appeal to the issuing authority or superior authority for removal of the

reprimand from the personnel record. Id. They may also be placed in a “no pay/no points status

and involuntarily reassigned to the Individual Ready Reserve” (“IRR”). Ex. 7 (Secretary of the

Air Force Mem. (Dec. 7, 2021)) at Attach. 1; Ex. 14 (Decl. of Lt. Col. Ethel Watson) ¶ 8.

Reassigning a member to the IRR is not a discharge or separation. Ex. 17 (Decl. of Col. Ashley



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Heyen) ¶ 5. Rather, it is an assignment action which places the member in a “resource pool of

reservists” who are unable to meet readiness standards or need to manage other commitments in

their personal lives. Id. ¶ 3. The service member remains a member of the Air Force, but is not

drilling with his unit, is not earning pay as a reservist, and is not getting credit toward retirement.

Id.; Ex. 14 ¶ 8. Once a member is reassigned to the IRR, that member loses his eligibility for

health insurance at a reduced rate. Ex. 17 ¶ 3.

IV.      Procedural Background

         On February 16, 2022, Plaintiffs filed a purported class-action complaint against the

Secretary of the Air Force, the Air Force Surgeon General, multiple commanders, and the United

States, alleging two claims: (1) a violation of RFRA “in light of [the] vaccine mandates” and for

alleged failure to “timely process” some of Plaintiffs’ exemption requests; and (2) a violation of

the First Amendment for “refusing to accommodate religious exemptions.” Compl. ¶¶ 65–75,

Doc. No. 1, PageID 17–18. On February 22, 2022, Plaintiffs filed a Motion for an Emergency

Temporary Restraining Order and Preliminary Injunction seeking (1) a temporary restraining order

to prevent the imposition of punitive action against four Plaintiffs for their refusal to get vaccinated

and (2) a preliminary injunction granting all of Plaintiffs’ religious accommodation requests and

enjoining Defendants from taking punitive action against them. Pls.’ Mot. 1, Doc. No. 13, PageID

578. Plaintiffs also appear to seek nationwide, class-wide relief—although no class has been

certified—for all Air Force service members. 9

                                              LEGAL STANDARDS


9
 Plaintiffs’ request for relief is inconsistent across their motion, memorandum supporting their motion, and p roposed
order. In their motion, Plaintiffs seek (1) “a temporary restraining order as to four of the Plaintiffs, who face imminent
adverse punitive actions,” and (2) “as to all of the Plaintiffs, a request for a preliminary injunction that their religious
accommodations be granted . . . , including enjoining the Government Defendants from taking punitive actions against
all Plaintiffs.” Pls.’ Mot. 1, Doc. No. 13, PageID 578. But Plaintiffs’ memorandum supporting their motion and their
proposed order also appear request a nationwide injunction as to all Air Force Service members. Pls.’ Mem. 18–19,
Doc. No. 13, PageID 598–99; Proposed Order, Doc. No. 13-6, PageID 814–15.

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       “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). Plaintiffs must “by a clear showing”

establish that (1) they have a substantial likelihood of success on the merits; (2) they will suffer

irreparable harm without an injunction; (3) the balance of equities tips in their favor; and (4)

preliminary relief serves the public interest. Mazurek v. Armstrong, 520 U.S. 968, 972 (1997);

Thompson v. DeWine, 976 F.3d 610, 615 (6th Cir. 2020), cert. denied, 141 S. Ct. 2521 (2021).

The Sixth Circuit has cautioned against the entry of mandatory preliminary injunctions that alter

the status quo and “which would finally dispose of the case on its merits.” Dunn v. Retail Clerks

Int’l Ass’n, AFL-CIO, Loc. 1529, 299 F.2d 873, 874 (6th Cir. 1962); see also Gaines v. NCAA,

746 F. Supp. 738, 742 (M.D. Tenn. 1990).

       Additionally, judicial review of claims involving the “complex[,] subtle, and professional

decisions as to the composition, training, equipping, and control of a military force[,]” Gilligan v.

Morgan, 413 U.S. 1, 10 (1973), is highly constrained, Rostker v. Goldberg, 453 U.S. 57, 66 (1981)

(explaining that because of the “healthy deference to legislative and executive judgments in the

area of military affairs,” courts employ a relaxed scrutiny in reviewing military policy); Hartmann

v. Stone, 68 F.3d 973, 984 (6th Cir. 1995) (“Clearly the courts must grant the military wide latitude

in its operations.”). “The Supreme Court has explained that courts ‘give great deference to the

professional judgment of military authorities concerning the relative importance of a particular

military interest.’” Poffenbarger, 2022 WL 594810, at *17 (quoting Winter, 555 U.S. at 25). Such

deference extends to constitutional claims and military decisions about the health and welfare of

the troops, see Solorio v. United States, 483 U.S. 435, 448 (1987); Mazares v. Dep’t of Navy, 302

F.3d 1382, 1385 (Fed. Cir. 2002), and in the RFRA context, see also Poffenbarger, 2022 WL

594810, at *17 (citing S. Rep. No. 103-111, reprinted in 1993 U.S.C.C.A.N. 1892, 1901 (1993)



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(“S. Rep. No. 103-111”)) (noting that deference to the military applies in RFRA).

                                                ARGUMENT

I.      Plaintiffs Are Unlikely to Succeed on the Merits of Their Claims.

        Plaintiffs have failed to establish that this Court has jurisdiction over their claims. Plaintiffs

also fail to establish either their RFRA or First Amendment claims.

        A. Plaintiffs Have Failed to Establish That This Court Has Jurisdiction Over Their
           Claims Because Their Claims Are Not Ripe and They Have Failed to Exhaust
           Their Administrative Remedies.

        For all but two Plaintiffs, their claims are neither ripe nor exhausted because they have not

completed the process for requesting exemptions or exhausted their intra-military remedies. 10

                      1. Plaintiffs’ Claims Are Not Ripe.

        The ripeness doctrine “prevent[s] the courts, through premature adjudication, from

entangling themselves in abstract disagreements.” Thomas v. Union Carbide Agric. Prods.

Co., 473 U.S. 568, 580 (1985) (citation omitted). To determine whether a claim is ripe, courts

evaluate “both the fitness of the issues for judicial decision and the hardship to the parties of

withholding court consideration.” Airline Pros. Ass’n of Int’l Bhd. of Teamsters, Loc. Union No.

1224, AFL-CIO v. Airborne, Inc., 332 F.3d 983, 988 (6th Cir. 2003) (quoting Abbott Lab’ys v.

Gardner, 387 U.S. 136, 149 (1967)). Plaintiffs’ claims fail to satisfy either prong. Plaintiffs’

claims are not fit for judicial resolution because “matters ‘still pending before [an agency] . . . [are]

not yet ripe for judicial review.’” Shrimpers & Fisherman of the RGV v. U.S. Army Corps of

Eng’rs, 849 F. App’x 459, 462 (5th Cir. 2021) (quoting La. Power & Light Co. v. Fed. Power

Comm’n, 526 F.2d 898, 910 (5th Cir. 1976)). Only four Plaintiffs have completed the appeal

process. Pls.’ Mem. 2–3, Doc. No. 13, PageID 582–83. Addressing Plaintiffs’ claims before their

10
  Plaintiffs Dills and Schuldes, both Reservists who have completed the appeal process, are the only two Plaintiffs
with ripe claims and who have arguably exhausted their intra-military remedies. However, what they are facing a
reassignment action, not discharge or separation from the Air Force.

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religious accommodation requests are finally adjudicated “would require the Court to adjudicate

internal military affairs before the military chain of command has had full opportunity to consider

the accommodation requests at issue.” Church v. Biden, No. 21-2815 (CKK), --- F. Supp. 3d ---,

2021 WL 5179215, at *11 (D.D.C. Nov. 8, 2021); see also Poffenbarger, 2022 WL 594810, *9

(citing Church, 2021 WL 5179215, at *10); see also Reno v. Cath. Soc. Servs., Inc., 509 U.S. 43,

59 (1993) (“[T]he promulgation of the challenged regulations did not itself give each . . . class

member a ripe claim; a class member’s claim would ripen only once he took the affirmative steps

that he could take before the [agency] blocked his path by applying the regulation to him.”). 11

         Even for the three active-duty Plaintiffs (Doster, Colantonio, and Theriault) who have

completed the appeal process for their religious accommodation requests, their claims are unripe

because the Air Force has not yet made a final determination on separation. The Supreme Court

in Toilet Goods Association v. Gardner, 387 U.S. 158 (1967), held a challenged regulation unripe

for review when the regulation was permissive rather than mandatory—i.e., one it did not compel

the agency to act but only authorized the agency to exercise a discretionary power to act. Similar ly,

here, Air Force regulations provide that “[i]n the case of a refusal to comply with the COVID-19

vaccination mandate, absent an exemption, regular service members will be subject to initiation of

administrative discharge proceedings.” Ex. 13 ¶ 10. But the Air Force’s “initiation of separation

proceedings is a tentative action not fit for judicial review; one can only speculate as to the final

outcome of any proceedings.” Smith v. Harvey, 541 F. Supp. 2d 8, 13 (D.D.C. 2008); see also

Order, Short, No. 2:22-cv-01151, Doc. No. 25 at 5 (holding that plaintiff challenging denial of



11
  The court in Poffenbarger recognized this exhaustion requirement. Although exhaustion was not at issue in that
case—like the two Reservists here, Plaintiffs Dills and Schuldes—the court noted the importance of “exhaust[ing] []
available intraservice corrective remedies.” Poffenbarger, 2022 WL 594810, at *9 (citation omitted). The court
compared the plaintiff to the plaintiffs in Church, who had failed to exhaust their remedies because their “appeals of
denials for religious accommodations to the Department of Defense vaccine mandate remained pending, and [they]
had not been disciplined nor separated from the Marine Corps.” Id. (citing Church, 2021 WL 5179215, at *10).

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religious accommodation request for COVID-19 vaccine had “not exhausted administrative

remedies” despite receiving a decision on his appeal because “he still must undergo separation

proceedings before any permanent adverse consequences are imposed”). The service member has

an opportunity to respond before the discharge recommendation goes to the separation authority ,

and—depending on the type of separation and the service members’ time in service—the decision

may move to a higher level, and the service member may be entitled to a formal administrative

hearing before a decision is made regarding their discharge. Ex. 13 ¶ 10.

       Plaintiffs also fail to establish the second prong of hardship from delay. As discussed in

more detail below, see infra Section II, Plaintiffs will suffer no harm between now and when the

Air Force finally decides whether to pursue adverse administrative action against any Plaintiff

whose religious accommodation request is finally denied.

                   2. Plaintiffs Have Failed to Exhaust Their Administrative Remedies.

       For similar reasons, Plaintiffs have failed to exhaust available administrative remedies.

“The basic purpose of the exhaustion doctrine is to allow an administrative agency to perform

functions within its special competence—to make a factual record, to apply its expertise, and to

correct its own errors so as to moot judicial controversies.” Parisi v. Davidson, 405 U.S. 34, 38

(1972). This is especially true in the military context, “given the judiciary’s lack of expertise in

areas of military judgment and its long-standing policy of non-intervention in internal military

affairs.” Heidman v. United States, 414 F. Supp. 47, 48 (N.D. Ohio 1976) (citing Schlesinger v.

Councilman, 420 U.S. 738 (1975); Parker v. Levy, 417 U.S. 733 (1974); Gilligan, 413 U.S. 1); see

also Seepe v. Dep’t of the Navy, 518 F.2d 760, 764 (6th Cir. 1975) (holding that service members

failed to exhaust his remedies in regard to discharge, and explaining that exhaustion could not be

excused where facts were “entirely service-oriented” and therefore “demanded military

expertise”); Von Hoffburg v. Alexander, 615 F.2d 633, 637–38 (5th Cir. 1980) (“The strict

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application of the exhaustion doctrine in military discharge cases serves to maintain the balance

between military authority and the power of federal courts.”); Bois v. Marsh, 801 F.2d 462, 468

(D.C. Cir. 1986) (“The salutary rule [is] that an aggrieved military officer must first exhaust his

administrative remedies . . . prior to litigating his claims in a federal court.” (citation omitted));

Doe v. Ball, 725 F. Supp. 1210, 1211 (M.D. Fla. 1989) (requiring exhaustion before bringing facial

challenge to Navy regulations), aff’d sub nom. Doe v. Garrett, 903 F.2d 1455 (11th Cir. 1990).

“Evaluating the risks to the health and safety of other soldiers, as well as to the combat readiness

of the force, posed by the inclusion of unvaccinated [service members] in the ranks necessarily

involves ‘complex, subtle, and professional decisions as to the composition, training, equipping,

and control of a military force[, which] are essentially professional military judgments.’” Order,

Short, No. 2:22-cv-01151, Doc. No. 25 at 6 (quoting Gilligan, 413 U.S. at 10)).

       The Air Force provides Plaintiffs many opportunities to present their arguments and for

the Air Force to respond. See supra pp. 5–7. Anyone subject to discipline may challenge the

lawfulness of the vaccine requirement in those proceedings. See, e.g., United States v. Kisala, 64

M.J. 50, 53-55 (C.A.A.F. 2006) (allowing a challenge to the lawfulness of an anthrax vaccination

requirement). Yet only four Plaintiffs have completed the appeal process. Pls.’ Mem. 2–3, Doc.

No. 13, PageID 582–83. Ten Plaintiffs have not even received an initial decision on their requests.

Id. None have had discharge procedures initiated against them. No Plaintiffs have therefore had

opportunity to complete the specialized military administrative procedures granted to them.

Plaintiffs seek to have this Court order the Air Force to grant them a religious exemption to the

COVID-19 vaccination requirement before the Air Force has fully adjudicated most of those

requests. Further, they ask this Court to intrude into the management of the military by forcing




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the Air Force to consider Plaintiffs medically qualified for continued service in units eligible for

worldwide deployability.

         B. Plaintiffs’ RFRA Claims Fail Because The Military Has a Compelling
            Governmental Interest in Maintaining a Medically Fit Force and the Vaccine
            Requirement is the Least Restrictive Means of Doing So.

         The Air Force’s conduct with regard to the vaccine directive comports with RFRA—both

as applied to Plaintiffs and to “other[s] similarly situated.” See Pls.’ Mem. 10, Doc. No. 13, PageID

590. “Under RFRA, the Federal Government may not . . . substantially burden a person’s exercise

of religion, ‘even if the burden results from a rule of general applicability.’” Gonzales v. O Centro

Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 424 (2006) (quoting 42 U.S.C. § 2000bb–

1(a)).12 “The only exception recognized by the statute requires the Government to satisfy the

compelling interest test—to ‘demonstrat[e] that application of the burden to the person—(1) is in

furtherance of a compelling governmental interest; and (2) is the least restrictive means of

furthering that compelling governmental interest.’” Id. (quoting 42 U.S.C. § 2000bb–1(b)). As

the military has found, a uniform vaccination requirement for members in Plaintiffs’ positions

furthers the compelling governmental interest of military readiness and is the least restrictive

means of furthering that interest.

                       1. The COVID-19 Vaccination Requirement Furthers the Government’s
                          Compelling Interest in Military Readiness.

         The Supreme Court has held that “[s]temming the spread of COVID–19 is unquestionably

a compelling interest.” Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020).

Plaintiffs themselves acknowledge, Pls.’ Mem. at 10, Doc. No. 13, PageID 590, the Sixth Circuit’s


12
  The “substantial burden” in this case is not forcing the Plaintiffs to choose between their religious beliefs and their
jobs, but rather the significantly lesser burden related to traveling internationally to receive one of the several vaccines
that does not involve fetal cell testing and therefore does not violate Plaintiffs’ religious beliefs. See Ex. 24 (Letter
from SSgt. Adam P. Theriault) (“It is my sincerely held belief that the Novavax vaccine differs from the currently
available COVID-19 [vaccines] in the fact that I am aware of no data that directly ties [it] to the practice of
abortion . . . .”).

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recognition of the Government’s “compelling interest in preventing the spread of a novel, highly

contagious, sometimes fatal virus,” Maryville Baptist Church, Inc. v. Beshear, 957 F.3d 610, 613

(6th Cir. 2020). This interest is especially compelling in the military context, because “when

evaluating whether military needs justify a particular restriction on religiously motivated conduct,

courts must give great deference to the professional judgment of military authorities concerning

the relative importance of a particular military interest.” Order, Short, No. 2:22-cv-01151, Doc.

No. 25 at 10 (quoting Goldman v. Weinberger, 475 U.S. 503, 507 (1986)). Indeed, the Supreme

Court has repeatedly emphasized that the government’s interest in “maximum efficiency” of

military operations is paramount, cf. United States v. O’Brien, 391 U.S. 367, 381 (1968), and that

“[f]ew interests can be more compelling than a nation’s need to ensure its own security,” Wayte v.

United States, 470 U.S. 598, 611 (1985). Although Plaintiffs argue that deference principles do

not apply here, see Pls.’ Mem. 11 n.20, Doc. No. 13, PageID 591, Congress expressly intended for

courts to apply long-standing principles of military deference under RFRA, see S. Rep. No. 103-

111, 12 (“The courts have always recognized the compelling nature of the military’s interest in

[good order, discipline, and security] in the regulations of our armed services [and] have always

extended to military authorities significant deference in effectuating these interests.         The

committee intends and expects that such deference will continue under this bill.”).

       Here, after consulting with “medical experts and military leadership,” Ex. 2, including the

“Chairman of the Joint Chiefs of Staff, the Secretaries of the Military Departments, [and] the

Service Chiefs,” and considering the rise in infection rates due to the Delta variant, Ex. 1, the

Secretary of Defense “determined that mandatory vaccination against [COVID-19] is necessary to

protect the Force and defend the American people,” Ex. 2 (“To defend this Nation, we need a

healthy and ready Force”). The Secretary of the Air Force likewise found that COVID-19



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vaccination of each service member is necessary to ensure military readiness and the health and

safety of airmen. Ex. 7 at 1. The Court must “give great deference” to the “professional military

judgments” of these leaders when it comes to what is needed to ensure military readiness and the

welfare of service members.13 See Winter, 555 U.S. at 24–25; Goldman, 475 U.S. at 507. And

“when executive officials ‘undertake to act in areas fraught with medical and scientific

uncertainties’ their judgments ‘should not be subject to second-guessing by an unelected federal

judiciary, which lacks the background, competence, and expertise to assess public health.’” Order,

Short, No. 2:22-cv-01151, Doc. No. 25 at 7 (quoting S. Bay United Pentecostal Church v. Newsom,

140 S. Ct. 1613, 1613–14 (2020) (Roberts, C.J., concurring)).

        These professional military judgments are supported by the evidence showing COVID-

19’s harmful impact on the military. See Church, 2021 WL 5179215, at *18 (requiring vaccination

is “supported by a lengthy record replete with data demonstrating the necessity of a general vaccine

mandate”). COVID-19 has “impacted exercises, deployments, redeployments, and other global

force management activities,” Ex. 10 ¶ 6; caused the cancellation of “19 major training events,

many of which involved preparedness and readiness training with our foreign partners,” id. ¶ 9;

and “required significant operational oversight” by the most senior military leaders, id. ¶ 4.

Further, vaccination requirements of other nations restrict the ability of unvaccinated service

members to participate in joint training exercises, which are “vital to the preservation of national

security and the protection of our foreign interests.” Id. ¶¶ 10–11. And because health care

providers have had to care for COVID-19 patients, certain service members have not been able to

“address non-emergency conditions and undergo routine medical and health assessments that are

13
   In finding that the Navy had no compelling interest in vaccinating the 35 Navy SEALs and members of the Navy’s
Special Warfare Community, the court in Navy SEALs 1–26 ignored Supreme Court precedent such as Goldman, 475
U.S. at 507, and Winter, 555 U.S. at 24–25, and failed to consider either the Secretary of Defense’s or the Secretary
of the Navy’s determinations that vaccination is necessary for military readiness, or the declarations from military
leaders concerning the military’s interest in vaccination. See Navy SEALs 1–26, 2022 WL 34443, at *9–11.

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required under military directives to maintain medical readiness.” Id. ¶¶ 12–13.

       Vaccinations have promoted readiness by reducing the risk of infections, hospitalizations ,

and deaths of service members. Id. ¶ 20. Since the onset of the COVID-19 pandemic, hundreds

of thousands of service members have been infected, thousands have been hospitalized, and 94

have died. Id. ¶ 3. None of the service members who died had both doses of an mRNA vaccine.

See id. In addition, “[b]etween July and November of 2021, non-fully-vaccinated active-duty

service members had a 14.6-fold increased risk of being hospitalized when compared to fully

vaccinated active-duty service members,” “[i]n December 2021 unvaccinated adults were 16-times

more likely to be hospitalized than vaccinated adults,” id. ¶ 18, and “the hospitalization rate during

Omicron dominance in the unvaccinated active duty population was 65 times higher than the

hospitalization rate in those fully vaccinated,” Ex. 9 ¶ 39. “Given the tangible protection the

vaccines afford service members against infection, serious illness, hospitalization, and death, it is

clear that COVID-19 vaccines improve readiness and preserve the DoD’s ability to accomplish its

mission.” Ex. 10 ¶ 20. Not only have vaccinations reduced the risk of infections, hospitalizations ,

and deaths of service members, they have reduced the number of service members required to

quarantine, permitted the military to return to higher levels of occupancy in DoD facilities and

hold in-person training, and allowed service members to participate in joint training exercises with

countries that have vaccine requirements. Id. ¶ 14.

       Even the risk of a single Plaintiff going unvaccinated is serious. Unvaccinated individua ls

have five times the risk of testing positive for COVID-19. Ex 14 ¶ 15. Accordingly, each Plaintiff

who refuses to immunize against COVID-19 exponentially increases the rate of transmission in

the Services and has a “realistic possibility” of infecting other service members with COVID-19.

Cf. United States v. Christie, 825 F.3d 1048, 1057 (9th Cir. 2016). Additionally, given the many



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thousands of religious objections, DoD would be required to grant exemptions to others similarly

situated. Thus the calculus necessarily includes the government’s interest in vaccinating not only

the 18 Plaintiffs at issue here, but the thousands of others who would subsequently request

exemptions. Regardless, Plaintiffs’ obligations necessitate vaccination because their duties require

close physical contact with other individuals. See, e.g., Ex. 18 ¶¶ 3–7; Ex. 19 ¶¶ 3–10; Ex. 20 ¶¶

4–9; Ex. 21 ¶¶ 5–9; Ex. 22 ¶¶ 3–7.

       Vaccination also furthers the military’s interest in having service members ready to

“deploy on a few days’ notice.” Id. ¶ 13. Service members must “stay deployment-ready in the

event that not only they get individually tasked with a deployment, but in the event the entire [unit]

gets activated due to current world events.” Id.; Ex. 16 (Decl. of Col. James Poel) ¶ 31. The

vaccine is necessary for members to stay deployment-ready because a member’s illness or an

outbreak in a deployed environment “create an unacceptable risk to personnel and substantially

increase the risk of mission failure.” Ex. 22 ¶ 6. Deployed environments frequently do not have

extensive medical facilities, such that a critically ill service member may not receive the same level

of care they would receive in the United States and caring for that ill member may take away the

unit’s medical capacity to treat battle injuries. Id. Moreover, because deployments are “by design,

minimally manned,” “[i]f one service member were to get sick, contract long-COVID, get

hospitalized, or die, that section may only have one extra person performing similar duties, leaving

little redundancy and backup to support the mission.” Id. “An outbreak impacting multiple service

members could potentially risk support to the mission altogether.” Id.

       Plaintiffs rely on the opinion of Dr. Peter McCullough to argue that the military has no

compelling interest in vaccination because “[t]he current vaccinations are not preventing the

spread” of the coronavirus. Pls.’ Mem. 16, Doc. No. 13, PageID 596. Plaintiffs’ reliance on this



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putative expert is misplaced for several reasons. First, Dr. McCullough’s opinion is exactly the

type of “expert testimony” the Supreme Court has dismissed in the military context as “quite beside

the point.” Goldman, 475 U.S. at 509 (explaining that military decisions are “decided by the

appropriate military officials” who “are under no constitutional mandate to abandon their

considered professional judgment”). The Supreme Court has chastised district courts for “palpably

exceed[ing] [their] authority” for “relying on [such] testimony.”           Rostker, 453 U.S. at 81

(explaining that “[i]t is not for this Court” to impose its own calculations “in the context of military

preparedness and the exigencies of a future mobilization”).       Second, three courts have already

rejected Dr. McCullough’s opinions concerning COVID-19 vaccines. See Harris v. Univ. of

Mass., Lowell, ---F. Supp. 3d---, 2021 WL 3848012, at *3 n.5 (D. Mass. Aug. 27, 2021); Klaassen

v. Trs. of Ind. Univ., ---F. Supp. 3d---, 2021 WL 3073926, at *28–32 (N.D. Ind. July 18, 2021),

vacated & remanded on mootness grounds, 24 F.4th 638 (7th Cir. 2022); United KP Freedom All.

v. Kaiser Permanente, No. 21-cv-07894, 2021 WL 5370951, at *2 (N.D. Cal. Nov. 18, 2021)

(finding that, in a case where plaintiffs submitted a declaration by Dr. McCullough (Doc. No. 27-

8), “plaintiffs have submitted declarations contesting the safety and efficacy of COVID-19

vaccines . . . , but it appears unlikely that much of this testimony would stand up under Rule 702

of the Federal Rules of Evidence”).        Third, the military generally aligns its immunizat ion

requirements and eligibility determinations for service members with recommendations from the

CDC, Ex. 4 at 3, and the CDC has reviewed studies and found that although vaccinated people

“can still become infected and have the potential to spread the virus to others,” they do so “at much

lower rates than unvaccinated people,” CDC, Science Brief: COVID-19 Vaccines and Vaccination

(updated Sept. 15, 2021), https://perma.cc/KGN4-QRUX.             Finally, Plaintiffs ignore that the

military has an interest not only in preventing the spread of COVID-19 among its ranks, but also



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in ensuring that individual members who do contract COVID-19 do not get seriously ill,

hospitalized, or die. See Ex. 9 ¶¶ 7–12; Ex. 16 ¶¶ 3–7.

       Plaintiffs also rely heavily on the Air Force’s granting of medical and administrative

exemptions to assert that the Air Force must not have a compelling interest in vaccinating the 18

named Plaintiffs. Pls.’ Mem. 5, 12, Doc. No. 13, PageID 585, 592. But the Air Force grants

medical exemptions and administrative exemptions only when doing so comports with the Air

Force’s compelling governmental interest in ensuring service members remain fit for duty. First,

medical exemptions are granted when necessary to protect the service members’ health. See Does

1-6 v. Mills, 16 F.4th 20, 31 (1st Cir. 2021) (“[P]roviding healthcare workers with medically

contraindicated vaccines would threaten the health of those workers and thus compromise both

their health and their ability to provide care.”), cert. denied, 2022 WL 515892 (U.S. Feb. 22, 2022);

We the Patriots USA, Inc. v. Hochul, 17 F.4th 266, 285 (2d Cir. 2021) (explaining that vaccinating

a service member “who is known or expected to be injured by the vaccine would harm her health”),

clarifying, 17 F.4th 368 (2d Cir. 2021); see also Ex. 7 at 1; Ex. 16 ¶ 7; Ex. 11 ¶ 13. Medical

exemptions are temporary, lasting as short as 30 days or as long as one year depending on the

reason for the exemption. Ex. 11 ¶ 6 (noting that there no permanent medical exemptions to the

COVID-19 vaccine because new COVID-19 immunizations products may be approved in the

future). Thus, for example, a service member may be granted a temporary medical exemption for

pregnancy, current COVID-19 infection, or an allergic reaction to a previous dose or a known

allergy component of the COVID-19 vaccine. Ex. 11 ¶ 5. The temporary nature of medical

exemptions ensures that members with temporary medical conditions get vaccinated once their

condition is resolved; or, alternatively, it allows the Air Force to reassess members with

contraindications for the vaccine to determine whether a vaccine has been approved with



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constituents the member can safely take. Ex. 16 ¶ 7. Moreover, a medical exemption “does not

permit the recipient to continue to freely perform any and all duties without” limitation.       Ex. 11

¶ 14. Rather, a service member who receives a medical exemption “may be reassigned and/or

likely categorized as non-deployable just as any other unvaccinated person with or without a

pending religious accommodation,” and “may require an additional medical waiver in order to

deploy overseas, go on sea duty, or engage in other special duties or assignments.” Id.

         Similarly, the Air Force grants administrative exemptions to certain service members on

terminal leave, separating, or retiring because it “has assessed that its interest in military readiness

and mission accomplishment is not served by requiring members to be vaccinated when they are

no longer anticipated to return to duty.” Ex. 15 ¶ 3; see also Ex. 23 ¶ 5 (Decl. of Col. Justin L.

Long).    The Air Force also grants administrative exemptions for service members actively

participating in COVID-19 vaccine clinical trials. Ex. 11 ¶ 17. Participation in a clinical trial does

not necessarily mean that the service member is unvaccinated, id. ¶ 20, and the exemption is

limited temporally to the duration of the trial. Id. ¶ 17. It is unknown how many exemptions, if

any, have been granted for vaccine trials. Id. ¶ 19. The Air Force has assessed that its interest in

military readiness and mission accomplishment is best served by allowing some service members

to temporarily forego vaccination so as to better the vaccine itself.

         Thus, contrary to Plaintiffs’ allegations, there is no “double standard” for exemption

requests indicating that the Secretary of the Air Force ordered the implementation of a vast,

discriminatory scheme. Pls.’ Mem. 5, Doc. No. 13, PageID 585. Rather, the interest behind

granting medical and administrative exemptions is the same interest driving the denial of religious

accommodation requests: the need to maintain a medically fit force ready to deploy at a moment’s

notice. See Order, Short, No. 2:22-cv-01151, Doc. No. 25 at 12 (“To the extent the [military]



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accommodates medical exemptions but not religious ones, that is therefore not a sign of

underinclusiveness or discriminatory treatment, but rather is simply a reflection of what is feasible

while still maintaining the government’s interest”); Transcript of Order, Dunn, No. 2:22-cv-00288,

Doc. No. 22 at 44 (noting that medical and administrative “exemptions do not undermine the

government’s interests the way a religious exemption would”).

                   2. Vaccination is the Least Restrictive Means of Furthering the
                      Government’s Compelling Interest in Military Re adiness.

       As other courts have found in non-military settings, a uniform practice of vaccination is

the least restrictive means in accomplishing the government’s interest in preventing the spread of

infectious diseases in the workforce. See, e.g., Does 1-6 v. Mills, ---F. Supp. 3d---, 2021 WL

4783626, at *14 (D. Me. Oct. 13, 2021), aff’d, 16 F.4th 20 (1st Cir. 2021); see also F.F. ex rel.

Y.F. v. New York , 65 Misc. 3d 616, 634 (N.Y. Sup. Ct. 2019) (concluding same in schools); Burwell

v. Hobby Lobby Stores, Inc., 573 U.S. 682, 733 (2014) (recognizing that vaccines “may be

supported by” the government’s compelling interest in “the need to combat the spread of infectious

diseases”). This reasoning has even greater force in the military setting, where health of service

members is paramount to military readiness. See Order, Short, No. 2:22-cv-01151, Doc. No. 25

at 10 (noting that “deference [to military judgments] is layered on top of the deference that courts

must give to expert policymakers on matters involving             complex medical or scientific

uncertainties”). Indeed, “the acceptable level of risk is a military decision that deserves great

deference.” Transcript of Order, Dunn, No. 22-cv-00288, Doc. No. 22 at 36.

       After careful consideration of each of Plaintiffs’ respective request for a religious

accommodation and their appeals, the Air Force Surgeon General concluded that there are no lesser

restrictive means than vaccination of these individual service members to further the military’s

compelling interests in readiness and ensuring the health and safety of all service members. See,


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e.g., Ex. 18 ¶ 21 (Decl. of Col. Richard M. Heaslip); Ex. 19 ¶ 16 (Decl. of Col. Donald F. Wren);

Ex. 20 ¶ 15 (Decl. of Col. Paul K. Harmer); Ex. 21 ¶ 16 (Decl. of Col. Deedrick L. Reese); Ex. 22

¶ 9 (Decl. of Lt. Col. Nicholas M. Pulire). None of Plaintiffs’ suggested alternatives to vaccination,

see Pls.’ Mem. 6–7, Doc. No. 13, PageID 586–87, are sufficient lesser restrictive means of

furthering that interest because they fail to serve the military’s compelling interests “equally well”

relative to vaccination. See Burwell, 573 U.S. at 731 (examining whether alternative served stated

interest “equally well”).

       First, Plaintiffs propose that the Air Force use “[t]emperature checks” and “testing” in lieu

of vaccination. Pls.’ Mem. 6, Doc. No. 13, PageID 586. Temperature checks can identify only if

a member has a fever; they do not detect COVID-19. Ex. 16 ¶ 16. And although “[s]erial testing

will curtail the exposure in the unit after the infection is detected,” it “is not as effective as

preventing the original infection.” Id. ¶ 20. Indeed, the military experienced multiple COVID-19

outbreaks when it merely required service members to undergo routine testing requirements, rather

than requiring vaccination. Ex. 10 ¶¶ 7–8; see Does 1-6, 16 F.4th at 33 (noting same was true of

Maine). Nor do testing and temperature checks prevent a service member who tests positive from

suffering serious health outcomes, such as long COVID, hospitalization, and death. Ex. 16 ¶ 21.

Moreover, the “virus can be easily transmitted to others prior to symptom development and

therefore may infect significant numbers before being identified.” Ex. 9 ¶ 10; Ex. 16 ¶¶ 16–20.

       Second, Plaintiffs suggest that the Air Force simply “[p]ermit[] the Plaintiffs to

demonstrate they have robust and long-lasting natural immunity” to COVID-19. Pls.’ Mem. 6,

Doc. No. 13, PageID 586. But DoD policy mandates vaccination in accordance with the CDC’s

recommendations, Ex. 4, ¶ 1.2, and the CDC currently recommends COVID-19 vaccination for

individuals five and over “regardless of a history of symptomatic or asymptomatic [COVID-19]



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infection,” and “serological testing to assess for prior infection is not recommended for the purpose

of vaccine decision-making.”           CDC, Interim Clinical Considerations for Use of COVID-19

Vaccines Currently Approved or Authorized in the United States (last updated Feb. 22, 2022),

https://perma.cc/4KTU-6EZX.               Indeed, “[c]ontrary to [Plaintiffs’] assertion, there is no

‘recognized, long standing, natural immunity’ against COVID-19.” Ex. 16 ¶ 22; see also Ex. 9 ¶

28 (noting that “[t]he body of evidence for infection-induced immunity is more limited than that

for vaccine-induced immunity in terms of the quality of evidence . . . and types of studies”).

Individuals who have been infected with the virus have had “diverse or varying immune responses

which, when compared to the subsequent response of those receiving the COVID-19 vaccine, are

not as reliable or consistent.” Ex. 9 ¶ 20; Ex. 16 ¶ 23. “Conversely, the immune response following

COVID-19 vaccination is more reliable, consistent, and predictable.” Ex. 9 ¶ 20. Furthermore,

“[n]umerous immunologic studies have consistently shown that vaccination of individuals who

were previously infected enhances their immune response, and growing epidemiologic evidence

indicates that vaccination following infection further reduces the risk of subsequent infection,

including in the setting of increased circulation of more infectious variants.” Id.14 For these

reasons, Plaintiffs’ assertions that some of them previously had COVID-19 is irrelevant. See Pls.’

Mem. 5, Doc. No. 13, PageID 585.

         Third, Plaintiffs suggest that the Air Force “[p]rovide an exemption” to the COVID-19

vaccination requirement because “vaccination will not guarantee immunity” and service members

are permitted to serve and deploy even if they “are not immune to diseases they were vaccinated

for.” Pls.’ Mem. 6–7, Doc. No. 13, PageID 586–87. This is not an alternative to vaccination so


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  Plaintiffs suggest that if the Air Force truly wanted to protect its airmen, it would “require[e] its airmen to become
infected and vaccinated to have this robust immunity.” Pls.’ Mem. 5, Doc. No. 13, PageID 585 (emphasis added). Of
course, this would require the Air Force to intentionally spread COVID-19 throughout its units, which is flatly contrary
to the Air Force’s interest in ensuring service members do not get sick themselves or transmit the virus to others.

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much as merely an argument against vaccination in general. Regardless, no vaccines “guarantee

immunity”; instead, they are meant to “reduce the risk of infection” and reduce symptoms from

possible infection. CDC, Understanding How Vaccines Work , https://perma.cc/9H29-DMWM.

As discussed above, the military requires vaccination because vaccines are the most effective way

of mitigating the risk of service members getting seriously ill, being hospitalized, and dying, or

spreading diseases to other members. See Ex. 16 ¶¶ 3–6, 31, 38; Ex. 9 ¶¶ 26, 39; see also Ex. 8 ¶

21 (discussing the efficacy of the Pfizer COVID-19 vaccine).

       Fourth, Plaintiffs’ proposal to “isolat[e]” them “to keep [them] away from those with the

disease” is not a feasible option based on Plaintiffs’ respective job responsibilities. Pls.’ Mem. 7,

Doc. No. 13, PageID 587; see, e.g., Ex. 18 ¶¶ 3–10; Ex. 19 ¶¶ 4–7; Ex. 20 ¶¶ 4–9; Ex. 21 ¶¶ 5–9;

Ex. 22 ¶¶ 3–7. Nor is it feasible for service members deployed in support of operations.

       Fifth, Plaintiffs’ proposal that the Air Force reassign them each to a “position and/or Air

Force Specialty Code that is available for remote work or telework, and not in contact with other

airmen” is also not a viable option. Pls.’ Mem. 7, Doc. No. 13, PageID 587. For the Reserve

Plaintiffs, “Reserve units have openings based on the needs of the particular mission and unit.”

Ex. 18 ¶ 15; Ex. 19 ¶ 11. Plaintiffs fail to even allege that any of them qualify for another Air

Force occupation as an officer, that such a need or opening exists in their respective unit (or any

other unit), that they would be the best fit for any such openings, or that such other positions are

available for remote work or telework. Cf. Transcript of Order, Dunn, No. 22-cv-00288, Doc. No.

22 at 38 (noting that plaintiffs “obviously cannot telework when [they]’re deployed”). Plaintiffs’

speculation that they might be qualified for and assigned to some other hypothetical military

occupation, which somehow may not entail serving in close proximity to other service members,

does not remotely establish that the denial of their RFRA exemption was unlawful. Cf. Harkness



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v. Sec’y of Navy, 858 F.3d 437, 443 (6th Cir. 2017) (“[C]ourts are generally reluctant to review

claims involving military duty assignments.”); Cargill v. Marsh, 902 F.2d 1006, 1007 (D.C. Cir.

1990) (Courts should not “second-guess the Secretary’s decision about how best to allocate

military personnel in order to serve the security needs of the Nation.” (quoting Kreis v. Sec’y of

Air Force, 866 F.2d 1508, 1511 (D.C. Cir. 1989))). The court should not accept Plaintiffs’

invitation to dictate to the military what career fields its service members should be assigned or to

interfere in how the military chooses to allocate its personnel and priorities.

       Similarly, Plaintiffs’ sixth proposal to place them each in a “non-deployable status and/or

assignment to a unit that does not deploy overseas” is not a feasible alternative. Pls.’ Mem. 7,

Doc. No. 13, PageID 587. Plaintiffs’ units “cannot afford to place [them] in a non-deployable

status because of the ever-increasing need and dependence on an already short-staffed

requirement.” Ex. 18 ¶ 15; Ex. 19 ¶ 11. “Having a member non-deployable places a larger burden

on the other members within the section, hurts [] overall unit readiness and degrades [the unit’s]

ability to complete the mission.” Ex. 19 ¶ 11; Ex. 18 ¶ 15. If the unit is activated and all the

members but the respective Plaintiff deploys, the unit “would be unable to provide the full support

required for the deployment, degrading [its] mission capabilities, or would have to maintain an

additional person to backfill his position should it deploy, making his position unnecessarily

redundant.” Ex. 18 ¶ 15; Ex. 19 ¶ 11.

       Seventh, Plaintiffs contend that “honorably discharg[ing]” them would be a lesser

restrictive means than enforcing the Air Force’s vaccination policy. Pls.’ Mem. 7, Doc. No. 13,

PageID 587. For active-duty Plaintiffs, Air Force policy for a service member who continues to

refuse vaccination is to initiate discharge proceedings, which may result in either an honorable or

general service characterization. Ex. 13 ¶ 10. As such, the Court should not enjoin the military



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from initiating administrative proceedings that could result in the exact outcome Plaintiffs accuse

the Air Force of withholding. For reservist Plaintiffs, it is unclear how honorable discharge would

reduce the burden on their religious exercise relative to the current Air Force policy of

involuntarily reassigning them to the IRR to complete their service obligations. See id. Indeed,

reassignment to the IRR “is a less significant step than discharge” because it allows members “to

remain a part of the Air Force and return to a participating Reserve status should [they] choose to

vaccinate on a future date.” Ex. 18 ¶ 16; Ex. 19 ¶ 18. Discharging a service member, in contrast,

means that the member could not return to a participating reserve status if, for example, vaccines

become available that they did not object to taking.

       Finally, Plaintiffs contend that the Air Force should grant the “few numbers of religious

exemption requests” because there is a “significant level of vaccine compliance within the

military.” Pls.’ Mem. 7, Doc. No. 13, PageID 587. The premise of this “herd immunity” argument

is flawed. Although the Air Force has high vaccination rate, its members usually live in and

interact with individuals in communities surrounding military bases, which may not have as high

of a vaccination rate. Ex. 16 ¶ 28. Indeed, the five Plaintiffs who are reservists, Compl. ¶¶ 17–

21, Doc. No. 1, PageID 5–6, work only one weekend per month at their respective Air Force bases,

and likely spend the majority of their time in the counties surrounding the base, which may have

much lower vaccination rates. Interactions with less-vaccinated populations increases the risk of

contracting the disease and spreading it to other members. Ex. 16 ¶ 26. Even if herd immunity

had been achieved, it is not as effective as vaccination at protecting a member from infection,

spreading the disease, or combatting the disease. Id. ¶¶ 28, 32; Ex. 9 ¶ 23. Unvaccinated service

members are at an increased risk of infection and may spread the virus (particularly new variants)

to other service members, and thus still pose a risk of significant harm to maintaining a healthy



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force. Ex. 16 ¶¶ 31–32. For these reasons, the military has not set any benchmark to cease any of

its immunization requirements based on herd immunity. See Ex. 9 ¶¶ 23–27. The military has

determined that maximum vaccination for all of the mandatory ten vaccines minimizes the risk to

service members of illness and outbreaks. See id. The Court should defer to the military’s

assessment of the acceptable level of risk. See Gilligan, 413 U.S. at 10.

       It is also worth noting that more than 10,000 airmen have submitted religious

accommodation requests. U.S. Air Force, DAF processes religious accommodations requests

(Dec. 22, 2021), https://perma.cc/V7KD-ZJHX. Like many of the named Plaintiffs here, many of

these service members likely work in deployable units or in close physical contact with other

service members for extended periods of time in facilities that are not well-ventilated.      Under

Plaintiffs’ proposed less restrictive alternatives, the Air Force would be forced to allow thousands

of unvaccinated service members to serve, risking the spread of disease, hospitalizations, and death

within multiple units for both unvaccinated personnel, as well as vaccinated personnel at risk of

breakthrough infections. See Ex. 16 ¶ 4 (“As the number of unvaccinated people increases, the

risk of resurgence of such diseases and their associated morbidity and mortality, increases.”).

       In sum, the military’s vaccine policy is narrowly tailored to serve compelling military

interests. The military is best situated to assess whether a specific unvaccinated individual puts

the military mission at risk, or whether feasible, less restrictive alternatives are available.   See

Orloff v.Willoughby, 345 U.S. 83, 94 (1953) (“Orderly government requires that the judiciary be

as scrupulous not to interfere with legitimate Army matters as the Army must be scrupulous not to

intervene in in judicial matters.”); Bryant v. Gates, 532 F.3d 888, 899 (D.C. Cir. 2008)

(Kavanaugh, J., concurring) (“[T]he Supreme Court has indicated” that “military decisions and

assessments of morale, discipline, and unit cohesion . . . are well beyond the competence of



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judges.”). The Air Force has considered whether there are any lesser restrictive means of achieving

its interest in military readiness and concluded that there are none. RFRA does not compel the

military to adopt a measure that is inferior in the military context to requiring the use of safe and

effective vaccines. Therefore, Plaintiffs have not shown a likelihood of success on their RFRA

claims to warrant the extraordinary preliminary injunctive relief he seeks.

        C. Plaintiffs’ First Amendment Claim Is Unlikely to Succeed on the Merits.

        Plaintiffs’ facial challenge to the Air Force’s COVID-19 vaccination requirement under

the First Amendment also fails.15 A regulation will withstand a free exercise challenge under the

First Amendment when it is “a generally applicable law that incidentally burdens religious

practices.” Roberts v. Neace, 958 F.3d 409, 413 (6th Cir. 2020).                      The Supreme Court has

emphasized that it “hardly ever strikes down a policy as illegitimate under” such “rational basis

scrutiny.” Trump v. Hawaii, 138 S. Ct. 2392, 2420 (2018). The vaccine requirement is neutral

and generally applicable because it applies to all service members. Cf. Cuomo, 141 S. Ct. at 67

(finding challenged regulation was not neutral or generally applicable where it limited attendance

only at houses of worship but not secular businesses). The vaccine requirement mandate survives

rational basis scrutiny because its “terms . . . do not make any reference to religion, and

[P]laintiff[s] ha[ve] not claimed . . . that the mandate was implemented with the aim of suppressing

religious belief.” Transcript of Order, Dunn, No. 2:22-cv-00288, Doc. No. 22 at 44; see also

Trump, 138 S. Ct. at 2420 (“On the few occasions where” the Supreme Court has struck down a

law under rational basis scrutiny, “a common thread has been that the laws at issue lack any

purpose other than a ‘bare . . . desire to harm a politically unpopular group.” (quoting Dep’t of

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  There is no need for the Court to address Plaintiffs’ First Amendment claim separately. If the Government prevails
on Plaintiffs’ RFRA claim, then the Government would necessary prevail under Plaintiffs’ First Amendment claim.
Conversely, if Plaintiffs prevail under RFRA, they would necessarily prevail under their First Amendment theory as
well. In any event, Plaintiffs’ First Amendment claims fail for the same reasons as their RFRA claim, see supra Part
I.B, and for additional reasons as well.

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Agric. v. Moreno, 413 U.S. 528, 534 (1973))). Rather, the vaccine mandate is intended to keep all

service members medically fit for service, including ready to immediately deploy as needed.

       Contrary to Plaintiffs’ assertions, the Air Force’s allowance of medical exemptions and

administrative exemptions does not trigger strict scrutiny. See Pls.’ Mem. 12–13, Doc. No. 13,

PageID 592–593. Plaintiffs cite Fulton v. City of Philadelphia, 141 S. Ct. 1868 (2021), and Dahl

v. Board of Trustees of Western Michigan University, 15 F.4th 728 (6th Cir. 2021), but neither

case is availing. Preliminarily, both cases arose in the civilian context, which does not implicate

the longstanding principle that “review of military regulations challenged on First Amendment

grounds is far more deferential than constitutional review of similar laws or regulations designed

for civilian society.” Goldman, 475 U.S. at 507. Plaintiffs “cite no authority for [their] proposition

that the more free-ranging inquiry [they] propose[] is appropriate in the national security and

foreign affairs context.” Trump, 138 S. Ct. at 2420 n.5. Indeed, “‘when it comes to collecting

evidence and drawing inferences’ on questions of national security, ‘the lack of competence on the

part of the courts is marked.’” Id. at 2419 (citation omitted). “‘Any rule of constitutional law that

would inhibit the flexibility’ of the President ‘to respond to changing world conditions should be

adopted only with the greatest caution,’ and [judicial] inquiry into matters of . . . national security

is highly constrained.” Id. at 2419–20 (citation omitted).

       Additionally, Plaintiffs misunderstand the underlying principle of both cases. Fulton and

Dahl are premised on the notion that “[a] law is not generally applicable if it ‘invite[s]’ the

government to consider the particular reasons for a person’s conduct by providing ‘a mechanism

for individualized exemptions.’” Fulton, 141 S. Ct. at 1877 (quoting Emp. Div., Dep’t of Hum.

Res. of Or. v. Smith, 494 U.S. 872, 884 (1990)); see Dahl, 15 F.4th at 733 (citing Fulton, 141 S.

Ct. at 1877).   But “an exemption is not individualized simply because it contain[s] express



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exceptions for objectively defined categories of persons.” 303 Creative LLC v. Elenis, 6 F.4th

1160, 1187 (10th Cir. 2021) (citation omitted), cert. granted in part, 2022 WL 515867 (U.S. Feb.

22, 2022); see also Kane v. De Blasio, 19 F.4th 152, 165 (2d Cir. 2021) (quoting We the Patriots

USA, 17 F.4th at 288) (same); Lighthouse Inst. for Evangelism, Inc. v. City of Long Branch, 510

F.3d 253, 276 (3d Cir. 2007) (same). It is “not the mere existence of an exemption procedure” that

triggers strict scrutiny, but rather the existence of a generalized, discretionary exemption procedure

that allows the government to determine that the mere “religious motivation of [a requestor’s]

conduct[] justified the unavailability of an exemption.” Lighthouse Inst. for Evangelism, Inc., 510

F.3d at 276. Put another way, in order to trigger strict scrutiny, “there must be some showing that

the exemption procedures allow secularly motivated conduct to be favored over religious ly

motivated conduct.” Kane, 19 F.4th at 165.

       Thus, the single “‘good cause’ standard” in Fulton triggered strict scrutiny because it

“‘invit[ed]’ the government to decide which reasons for not complying with the policy are worthy

of solicitude.” 141 S. Ct. at 1877, 1879 (citation omitted). Similarly, in Dahl, the University

considered religious exemptions “on an individual basis,” thereby allowing them to discretionarily

reject such exemptions merely because they were religious in nature. 15 F.4th at 734. In contrast,

here, Plaintiffs make no showing that the religious accommodation procedures allow secularly

motivated conduct to be favored over religiously motivated conduct. The mandate applies with

equal force to all service members.       The only exceptions are for medical exemptions and

administrative   exemptions—which, as discussed above, are not comparable to religious

accommodations because they apply only in the very limited circumstance in which not granting

an exemption would be actively harmful to the Air Force’s interest in maintaining a medically fit

force, and in any event may still involve reassignment or categorization as non-deployable as



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necessary in order to protect the force. See Transcript of Order, Dunn, No. 2:22-cv-00288, Doc.

No. 22 at 36 (“The fact that the Air Force has granted medical and administrative exemptions does

not render the mandate not generally applicable” because “these exemptions do not undermine the

government’s interests the way a religious exemption would[.]”); Ex. 11 ¶ 14.

        Thus, especially given the deference to military judgments in the First Amendment context,

the vaccine mandate easily survives rational basis review. Even if strict scrutiny applied, the

vaccine mandate still comports with the First Amendment for all the reasons described above. See

supra Part I.A. Indeed, the Sixth Circuit in Dahl expressly recognized that the defendant-

University’s “interest in fighting COVID-19 is compelling” and that “COVID-19 vaccines are the

most effective and reasonable way to guard against the virus.” Dahl, 15 F.4th at 735. And here,

unlike in Dahl, Defendants present substantial analysis on their interest in vaccinating the

individual Plaintiffs. See generally Exs. 18–22; cf. Dahl, 15 F.4th at 735 (noting that “[d]efendants

present neither evidence nor argument” regarding their interest in denying an exception to the

particular plaintiffs at issue).

II.     Plaintiffs Do Not Face Irreparable Harm.

        Plaintiffs are also not entitled to a preliminary injunction because they fail to show a

likelihood of irreparable harm, an “indispensable” requirement for a preliminary injunction. D.T.

v. Sumner Cnty. Schs., 942 F.3d 324, 327 (6th Cir. 2019). “To merit a preliminary injunction, an

injury must be both certain and immediate, not speculative or theoretical.” Id. (citation omitted).

And “[i]n the context of ‘military personnel decisions, . . . courts have held that the showing of

irreparable harm must be especially strong before an injunction is warranted, given the national

security interests weighing against judicial intervention in military affairs.’” Church, 2021 WL

5179215, at *17 (quoting Shaw v. Austin, 539 F. Supp. 3d 169, 183 (D.D.C. 2021)).



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       None of Plaintiffs’ alleged harms are irreparable. First, Plaintiffs argue that they suffer

irreparable harm because their constitutional and statutory rights have been infringed. See Pls.’

Mem. 9, Doc. No. 13, PageID 589. But, as shown above, Plaintiffs have failed to establish a

violation of law—so any infringement is neither “threatened [nor] occurring” and thus cannot

establish irreparable harm. Elrod v. Burns, 427 U.S. 347, 374 (1976); Order, Short, No. 22-cv-

01151, Doc. No. 25 at 14 (“[B]ecause this Court has found that Plaintiff failed to demonstrate a

sufficient likelihood of success on the merits of his religious freedom claims, there is no

presumption of irreparable harm.”).       Second, Plaintiffs appear to allege that involuntary

reassignment to the Individual Ready Reserve and loss of retirement constitutes irreparable harm.

See Pls.’ Mem. 2, 4, Doc. No. 13, PageID 579, 584. But any such contention is meritless, as

military administrative and disciplinary actions, including separation, are not irreparable injuries

because the service member could later be reinstated and provided back pay if he prevailed on his

claim. See, e.g., Hartikka v. United States, 754 F.2d 1516, 1518 (9th Cir. 1985); Chilcott v. Orr,

747 F.2d 29, 34 (1st Cir. 1984); Guitard v. U.S. Sec’y of Navy, 967 F.2d 737, 742 (2d Cir. 1992);

Church, 2021 WL 5179215, at *17. Finally, although Plaintiffs allege that they may be subject to

court-martial for non-compliance with the COVID-19 vaccine directive, Pls.’ Mem. 6, Doc. No.

13, PageID 586, such action is speculative given the potential range of disciplinary consequences

that may be pursued for service members who do not have an exemption (or pending exemption

request) and who do not get vaccinated, see Ex. 13 ¶¶ 3–14.    This is particularly so in light of Air

Force policy to reassign reserve members to the IRR and discharge active duty members. Such

speculation cannot establish irreparable harm. See D.T., 942 F.3d at 327; see also Church, 2021

WL 5179215, at *17. In any event, subjecting a service member to court-martial proceedings does

not constitute an irreparable injury. See Schlesinger, 420 U.S. at 755.



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III.   The Equities and the Public Interest Weigh Against a Preliminary Injunction.

       The third and fourth requirements for issuance of a preliminary injunction—the balance of

harms and whether the requested injunction will disserve the public interest—“merge when the

Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). These factors tilt

decisively against granting a preliminary injunction here.

       The public has an exceptionally strong interest in national defense, see Winter, 555 U.S. 7,

and, for all of the reasons explained above, the military has a compelling interest in requiring its

fighting forces to be vaccinated, healthy, and ready to deploy. An injunction that allows Plaintiffs

to serve in a military setting without being vaccinated against COVID-19 would, as detailed above,

threaten harm to each Plaintiff and to other service members serving alongside them in the

execution of their job duties, in training facilities, or on deployment, and would risk

accomplishment of each Plaintiffs’ respective unit’s mission. See supra Part I.A; see also Ex. 9 ¶

10; Ex. 10 ¶¶ 16–20; Ex. 19 ¶¶ 6, 8; Ex. 20 ¶¶ 4–5. Such an injunction also would encourage other

members with exemption requests to attempt to bypass the military’s process and ask courts to

enter similar injunctive relief, which “‘in the aggregate’ present the possibility of substantial

disruption and diversion of military resources” and is contrary to the public interest. Parrish v.

Brownlee, 335 F. Supp. 2d 661, 669 (E.D.N.C. 2004) (citation omitted).

       Plaintiffs request that the Court not only grant their own respective exemption requests

prematurely or retrospectively, but that the Court grant all other religious exemption requests,

direct the Air Force to rescind any adverse or disciplinary action (including discharges) against

airmen whose requests were denied, and monitor the Air Force’s processing of exemption requests

for non-parties. See Pls.’ Mem. 18–19, Doc. No. 13, PageID 598–99; Proposed Order, Doc. No.

13-5, PageID 812–13. Particularly in a military setting, enjoining vaccination requirements would



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harm the public interest (and the national security interests of the United States), as vaccination is

necessary to protect the health of individual service members and curb transmission of COVID-

19 among service members to ensure the military is ready to “defend this Nation.” Ex. 2; see also

Ex. 7; Oklahoma, 2021 WL 6126230, at *14; Church, 2021 WL 5179215, at *18–19. Moreover,

the military has clear discretion to handle matters of good order and discipline—which include s

compliance with lawfully issued orders—without interference from the Judiciary.            Chappell v

Wallace, 462 U.S. 296 300–01 (1983); Church, 2021 WL 5179215, at *18. An injunction granting

all religious exemption requests, rescinding all adverse action or discipline taken against those

who have refused vaccination after their exemption requests were denied, and monitoring the Air

Force’s processing of exemptions, “would be a disruptive force as to affairs peculiarly within the

jurisdiction of the military authorities,” Orloff, 345 U.S. at 95, and contrary to the public interest,

see Chilcott, 747 F.2d at 33 (noting the “strong judicial policy against interfering with the internal

affairs of the armed forces”); Shaw, 539 F. Supp. 3d at 184 (same); Reinhard v. Johnson, 209 F.

Supp. 3d 207, 221 (D.D.C. 2016) (same).

IV.    Any Relief Should Be Narrowly Tailored.

       Even if the Court were to disagree with Defendants’ arguments, the law is clear that any

injunctive relief should be no broader than necessary to provide relief to the plaintiffs before the

Court. “A plaintiff’s remedy must be tailored to redress the plaintiff’s particular injury.” Gill v.

Whitford, 138 S. Ct. 1916, 1934 (2018); see also Trump, 138 S. Ct. at 2425 (Thomas, J.,

concurring) (explaining the harm of nationwide injunctions).          “Narrower injunctive relief is

especially appropriate here considering the deference given to military authorities concerning the

importance of a particular military interest, the significant public interest in ensuring a strong

national defense, and the potential for a wide array of bases for a religious accommodation



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request.” Poffenbarger, 2022 WL 594810, at *20 (citing Winter, 555 U.S. at 25).

        Here, Plaintiffs request a nationwide, Air Force–wide injunction.     But “[j]udges are not

given the task of running the [military].” Chappell, 462 U.S. at 301; Larsen v. U.S. Navy, 486 F.

Supp. 2d 11, 36 (D.D.C. 2007) (declining to consider relief that would “assign the Court the role

of monitoring [the Navy’s chaplaincy program]”). Plaintiffs’ reliance on Califano v. Yamasake,

442 U.S. 682, 702 (1979), to seek military-wide relief is misplaced. See Pls.’ Mem. 18, Doc. No.

13, PageID 598. There, the Supreme Court determined that class certification of a nationwide

class was permissible—here, however, “[t]his Court has not determined that class certification—

of a nationwide class or otherwise—is appropriate.” Poffenbarger, 2022 WL 594810, at *20

(rejecting plaintiff’s reliance on Califano). The programmatic relief Plaintiffs seeks for all airmen

would regulate the Air Force’s day-to-day procedures for making personnel and assignment

decisions intended to protect the health of the force. Such universal or class-wide injunctive relief

would be clearly improper, even if the Court determined that Plaintiffs were entitled to some

individual relief at this stage. See, e.g., id. (“[T]he Court will only enter a relatively limited

preliminary injunction and one that only applies to [the plaintiff.]”).

        Far from being tailored to address their own purported injuries, Plaintiffs’ request—that

the Court grant thousands of religious exemption requests, order the Air Force to rescind

disciplinary actions for other airmen, and impose judicial supervision over the Air Force’s

exemption process—is wholly improper and must be rejected, along with any individual injunctive

relief for the Plaintiffs themselves.

                                          CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiffs’ motion for a preliminary

injunction.



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Dated: March 8, 2022                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 8, 2022, I electronically filed the foregoing paper with the

Clerk of Court using this Court’s CM/Doc. system, which will notify all counsel of record of such

filing.



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